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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 IOWA PUBLIC EMPLOYEES’ RETIREMENT
 SYSTEM, et al.,

              Plaintiffs,

                              - against -                No. 17 Civ. 6221 (KPF)

 BANK OF AMERICA CORPORATION, et al.,

              Defendants.




                            MOTION TO WITHDRAW AS COUNSEL

       Pursuant to Rule 1.4 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, I, David C. Bohan hereby move this Court for leave to withdraw

as one of the attorneys of record for defendants UBS AG, UBS Americas Inc., UBS Securities

LLC and UBS Financial Services Inc. (collectively, “UBS”) in the above-captioned action. In

connection with my withdrawal as counsel, I further request that the clerk of the Court remove

my name from the CM/ECF service list for this matter.

       In support of this motion, I state as follows:

   1. I am a member of the bar of this Court; I am of counsel with the law firm Katten Muchin

Rosenman LLP (“Katten”); and I am one of the attorneys of record for UBS.

   2. As of November 1, 2020, I will no longer be associated with Katten.

   3. Following my withdrawal from Katten and from this matter, UBS will continue to be

represented by Katten attorneys Peter G. Wilson, Alan J. Brudner, Sarah K. Weber, Elliott M.

Bacon, Michaela C. Holcombe and Benjamin C. Levine.
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    4. The case is not set for trial. My withdrawal will not occasion a request for an extension

of any deadlines in the case.

    5. I am not asserting a retaining or charging lien in connection with my departure.

    6. Pursuant to Local Rule 1.4, a copy of this motion is being served upon UBS and all other

parties.

Dated: October 27, 2020                             Respectfully submitted,

                                                    /s/ David C. Bohan

                                                    David C. Bohan
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                               CERTIFICATE OF SERVICE


       I hereby certify that on October 27, 2020, I caused the foregoing Motion to Withdraw as

Counsel to be served via the CM/ECF system in the United States District Court for the Southern

District of New York on all parties registered for CM/ECF and by U.S. Mail upon UBS AG,

UBS Americas Inc., UBS Securities LLC and UBS Financial Services Inc.



                                                  /s/ David C. Bohan
                                                  David C. Bohan




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